956 F.2d 1162
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph L. HAMM, Plaintiff-Appellant,v.Rick JACKSON;  J.C. Pinion, Defendants-Appellees.
    No. 91-7298.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 20, 1992.Decided March 9, 1992.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.   Norwood Carlton Tilley, Jr., District Judge;  Paul Trevor Sharp, Magistrate Judge.  (CA-89-588-S-C)
      Joseph L. Hamm, appellant pro se.
      Ronna Dawn Gibbs, North Carolina Department of Justice, Raleigh, N.C., for appellees.
      M.D.N.C.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Joseph L. Hamm appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Hamm v. Jackson, No. CA-89-588-S-C (M.D.N.C. Aug. 19, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    